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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                 GALVESTON DIVISION

STEPHEN PATRICK BRYANT III,                   §       CIVIL ACTION NO. 3:20-cv-374
     Plaintiff                                §
                                              §
v.                                            §
                                              §
GALVESTON COUNTY, TEXAS,                      §       JURY DEMAND
DEPUTY HOLLEY AND                             §
DEPUTY SILVAS                                 §
Defendants.                                   §

                  DEFENDANT’S REPLY TO PLAINTIFF’S RESPONSE TO
                  DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

       Defendant Deputy James Holley’s reply and objections to Plaintiff’s Response [Doc. 60]

and Plaintiff’s Supplemental Response [Doc. 62] to Defendant’s motion for summary judgment

[Doc. 45].

I.      Objections to Plaintiff’s summary judgment exhibits.

1.     In accordance with FED. R. CIV. P. 32 and FED. R. EVID. 401, 402, 611(a), Deputy Holley

objects to admission of Plaintiff’s summary judgment exhibit 1, 2, 3, 4 [Doc. 60-1, 2, 3, 4] filed in

response to Deputy Holley’s motion for summary judgment.

       A.      The Court should sustain Deputy Holley’s objection to exhibits 1, 2, 3 as they
               are inadmissible hearsay and irrelevant to the Constitutional issues before the
               Court.

2.     The Plaintiff’s “expert report” (Ex. #1) is inadmissible. The “report”, which is undeniably

hearsay and inadmissible, as well as Plaintiff’s overall argument, is policy based, not a

constitutionally based argument. The same legal principals apply to Plaintiff’s exhibits 2 and 3.
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Galveston County Sheriff’s Office policy violations are irrelevant to the claims asserted in this

case.1

          B.       The Court should sustain Deputy Holley’s objection to the entire Exhibit 4.

3.        Even if “evidence exists in the summary judgment record, but Plaintiff fails to refer to it in

response to the motion for summary judgment, that evidence is not properly before the district

court.” Malacara v. Garber, 353 F.3d 393, 405 (5th Cir. 2003). The Plaintiff did not cite any

specific testimony from Plaintiff’s exhibit 4 in the Plaintiff’s brief. The Court should exclude

Plaintiffs’ wholesale “dump” of Deputy Holley’s entire deposition transcript as Plaintiff’s Exhibit

4, much of which is objectionable for different reasons (again asserting department policy

violations to support a Fourth Amendment claim) in addition to Plaintiffs’ failure to cite specific

testimony, into the summary judgment record. See FED. R. EVID. 401-02.

4.        Plaintiff is required to designate specific facts in the summary judgment record which show

that Deputy Holley deprived plaintiff of a federally protected right and did so violating clearly

established law. This court is not obligated to scour entire, uncited deposition transcripts to find

potentially relevant and admissible evidence. See Jones v. Sheehan, Young and Culp, 82 F.3d 1334,

1338 (5th Cir. 1996); Ragas v. Tennessee Gas Pipeline Co., 136 F.3d 455, 458 (5th Cir. 1998);

Nissho-Iwai Am. Corp. v. Kline, 845 F.2d 1300, 1307 (5th Cir. 1988).

5.        Therefore, Plaintiffs’ Exhibit 4 is simply not properly before the Court for purposes of

evaluating the summary judgment record. See Malacara, 353 F.3d at 404-05. "The perfunctory

and conclusional assertion that a particular [deposition transcript] creates such a conflict normally



1
        See Doc. 52, pg. 3. Policy violations are irrelevant to Fourth Amendment claims.
Ironically, the Internal Affairs investigator did not find that Deputy Holley choked the Plaintiff
as alleged in his complaint and cited the evidence supporting that conclusion in the report. [Doc.
60-3, pgs. 9, 10]
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will not suffice" to meet the Plaintiffs’ burden. Id. "Judges are not like pigs,2 hunting for truffles

buried in briefs." De La O v. Housing Authority of the City of El Paso, 417 F.3d 495, 501 (5th Cir.

2005) (quoting United States v. Dunkel, 927 F.2d 955, 956 (7th Cir. 1991)). By failing to identify

specific portions of deposition testimony, Plaintiff has failed in his burden to identify admissible

evidence which refutes Deputy Holley’s entitlement to summary judgment. See De La O, 417 F.3d

at 501.

                                 ARGUMENT AND AUTHORITIES

II.       Officer Holley’s uncontroverted testimony is admissible evidence that supports
          summary judgment.

6.        Quite tellingly, not included in the Plaintiff’s Reply is any sworn testimony, affidavits, or

deposition testimony from the Plaintiff himself. The Plaintiff has offered no admissible evidence

of an injury or even any admissible evidence to support a Fourth Amendment claim. It would be

error for the Court to disregard Deputy Holley’s uncontroverted testimony contained in

Defendant’s Exhibit #3 to Defendant’s Motion for Summary Judgment. [Doc. 45 and 45-3] See

Orr v. Copeland, 844 F.3d 484, 490-91 (5th Cir. 2016). As such, the Defendant’s Motion for

Summary Judgment should be granted.

III.      Deputy Holley is immune from the State Law claim of assault.

          A.     Deputy Holley state law statutory individual immunity does not hinge on
                 whether the Galveston County is protected from liability by its governmental
                 immunity.

7.        In Meadours v. Ermel, 483 F.3d 417, 424 (5th Cir. 2007), the Fifth Circuit panel incorrectly

applied Texas statutory immunity in the manner the Plaintiff urges this Court to commit the same

legal error. In Bustos v. Martini Club, 599 F.3d 458, 463 (5th Cir. 2010), the Fifth Circuit

recognized the error the Meadours’ court had made and discussed that the Texas Supreme Court,


2         The Circuit Court's, not counsel's, analogy.
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in Mission Consolidated Independent School District v. Garcia, 253 S.W.3d 653, 655 (Tex. 2008),

had confirmed that Texas immunity law established that Meadours was incorrectly decided.

Deputy Holley is immune from state law claims, under Texas statutory immunity.



       B.      Deputy Holley is immune under Texas common law official immunity from
               the assault claim.

8.     For essentially the same reasons Deputy Holley is protected by qualified immunity under

federal law, he is protected by common law official immunity under Texas law. See Hart v.

O’Brien, 127 F.3d 424, 450 (5th Cir. 1997).



                                CONCLUSION AND PRAYER

9.     For these reasons and the evidence and authorities identified in Deputy Holley’s summary

judgment motion, Deputy Holley moves this Court to enter an order sustaining Deputy Holley’s

objections to Plaintiff’s summary judgment exhibits 1, 2, 3, 4 and an order dismissing Plaintiff’s

claim, and to grant summary judgment in favor of Deputy Holley.




                                              Respectfully submitted,

                                              __Gregory B. Cagle__
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                              CERTIFICATE OF CONFERENCE

       Counsel for the Defendant conferred with Plaintiff’s counsel regarding the date to file this

pleading and agreed to September 21, 2022 in light of Plaintiff’s supplemental Response filed on

September 7, 2022.

                                                     /s/ Gregory B. Cagle

                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been forwarded to the

following counsel of record in accordance with the District’s ECF service rules on this 21st day of

September, 2022.

       Randall L. Kallinen
       Email: AttorneyKallinen@aol.com
       Attorney for Plaintiff

                                                     /s/ Gregory B. Cagle
